Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 1 of 54




                Exhibit 5
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 2 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 3 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 4 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 5 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 6 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 7 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 8 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 9 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 10 of 54
        Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 11 of 54




-1156
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 12 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 13 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 14 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 15 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 16 of 54
       Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 17 of 54




1202
        Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 18 of 54




-1263
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 19 of 54
        Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 20 of 54




-1131
        Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 21 of 54




-1231
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 22 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 23 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 24 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 25 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 26 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 27 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 28 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 29 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 30 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 31 of 54




                                                                   1264-127
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 32 of 54




                                                                   1290-1
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 33 of 54




                                                                   1306-1
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 34 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 35 of 54




                                                                   939-
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 36 of 54




                                                                   1132-
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 37 of 54




                                                                   1157
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 38 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 39 of 54




                                                                   880-
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 40 of 54




                                                                   893
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 41 of 54




                                                                   915-
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 42 of 54




                                                                   1157
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 43 of 54




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Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 44 of 54




                                                                   1173
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 45 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 46 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 47 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 48 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 49 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 50 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 51 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 52 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 53 of 54
Case 3:21-cv-00022-CAR Document 1-5 Filed 03/10/21 Page 54 of 54
